Case 2:03-cv-02827-.]DB-dkv Document 20 Filed 07/05/05 Page 1 of 2 Page|D 38

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[N THE UNITED STATES DlSTRlCT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE 05 JU|__ _5 PH |; 59

WESTERN DIVISION
ll'W*SM M.GOULD
FANNIE L. BoLDEN, en her CUM Ug gggrp;gowm
behalf and all others similarly W/U 0?‘ ll Fq’:_ §PHE
situated,
Plaintiff,
V. NO. 03-2827

AAMES FUNDING CORP., and
AAMES HOME LOANS,

Defendants. -

 

ORDER DENYING DEFENDANTS’ MOTION
FOR SUMMARY IUDGMENT AS UNTIMELY

 

Before the Court is the June 28, 2005 motion for summary judgment by the Defendants,
Aames Funding Corp. and Aames Home Loans, against Plaintiff, Fannie L. Bolden. However, the
deadline to tile a dispositive motion expired on April 29, 2005 according to the scheduling order
entered on September 30, 2004. Additionally, this case is currently scheduled for trial on July 18,
2005. As the Defendants’ motion was not filed on or before April 29 and because no extension of
this deadline has been requested and granted, the Court DENIES Defendants’ motion for summary
judgment as untimely.

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iT ls So oRi)ERED rhis>__ day ofJuiy, 2005.

J. ' EL BREE'N \
ITE sTATEs DisTRiCT JUDGE

 

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This notice confirms a copy of the document docketed as number 20 in
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ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

